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                 IN THE UNITED STATES DISTRICT COURT
                  FOR THE EASTERN DISTRICT OF TEXAS
                          MARSHALL DIVISION


                                    )
INTERCURRENCY SOFTWARE LLC,         )
                                    )
                    Plaintiff,      )        Case No. 2:24-cv-0079-JRG
                                    )
     v.                                      JURY TRIAL DEMANDED
                                    )
                                    )
CHARLES RIVER SYSTEMS, INC. (D/B/A/
                                    )
CHARLES RIVER DEVELOPMENT), STATE
                                    )
STREET BANK AND TRUST COMPANY AND
                                    )
STATE STREET CORPORATION,
                                    )
                    Defendants.     )
                                    )




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  Exhibit                                    Description
    A       U.S. Patent No. 10,062,107 (“’107”)
    B       U.S. Patent No. 10,776,863 (“’863”)
    C       U.S. Patent No. 11,449,930 (“’930”)
    D       ’107 Prosecution: 2010-04-16 Response to Restriction Requirement
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    K       ’863 Prosecution: 2019-12-05 Terminal Disclaimer
    L       ’930 Prosecution: 2021-01-31 Response to Office Action
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       Defendants Charles River Development, State Street Bank and Trust Company, and State

Street Corporation (collectively, “State Street” or “Defendants”) respectfully move to dismiss

Intercurrency Software LLC’s (“Intercurrency”) First Amended Complaint (D.I. 13, “Compl.”)

under Fed. R. Civ. P. 12(b)(6), because the claims of U.S. Patent Nos. 10,062,107 (“’107”) (Ex.

A); 10,776,863 (“’863”) (Ex. B); and 11,449,930 (“’930”) (Ex. C) (collectively, “Asserted

Patents”) are ineligible under 35 U.S.C. § 101 and because Intercurrency fails to plead sufficient

facts to plausibly allege a claim for relief. Defendants also move to dismiss Intercurrency’s

Complaint under Fed. R. Civ. P. 12(b)(3), because venue in this District is improper.

I.     INTRODUCTION

       The Asserted Patents are directed to the fundamental economic practice of trading an asset

in a preferred currency and are unequivocally patent ineligible under the Supreme Court’s Alice

test. See Alice Corp. Pty. Ltd. v. CLS Bank Int’l, 573 U.S. 208, 217-19 (2014). As the Supreme

Court, Federal Circuit, and this Court have confirmed repeatedly, fundamental economic activities

like the ones claimed here are abstract ideas (Alice Step One) that are not eligible for patent

protection unless they claim an inventive concept that transforms the claims into something more

(Alice Step Two). Here, Intercurrency’s allegations and arguments make clear that the claims of

the three Asserted Patents—which share a common specification—are directed to the same

unpatentable concept: “methods, processes and systems for conducting security transactions in a

preferred currency.” Compl. ¶ 26. No factual allegations can change the legal conclusion here that

the claims are abstract, non-inventive, and unpatentable.

       At Alice step one, the asserted claims are directed to the abstract idea of trading an asset in

a preferred currency and, in particular, to performing a currency exchange at the time of a security

transaction, “so that a trader or investor knows exactly what profit or loss may occur with a

transaction.” Compl. ¶ 25. Courts have repeatedly rejected these fundamental economic concepts


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as unpatentable. See Alice Corp., 573 U.S. at 216 (finding concept of intermediated settlement a

fundamental economic practice and patent-ineligible); Bozeman Fin. LLC v. Fed. Rsrv. Bank of

Atlanta, 955 F.3d 971, 978 (Fed. Cir. 2020) (“‘Fundamental economic practices long prevalent in

our system of commerce’ are examples of abstract ideas, which are ineligible subject matter”)

(quoting Bilski v. Kappos, 561 U.S. 593, 611 (2010)); Loyalty Conversion Sys. Corp. v. Am.

Airlines, Inc., 66 F. Supp. 3d 829, 837 (E.D. Tex. 2014) (Bryson, J.) (finding ineligible claims

directed to the “unpatentable concept of currency exchange”). Here, Intercurrency’s claims are

directed entirely to these abstract, ineligible concepts.

       This is true even in view of Intercurrency’s description of its alleged invention. In the

patentee’s own words, the alleged invention is no more than “a Graphical-User-Interface design

that helps a trader buy and sell a stock with certainty even [sic] the currency exchange rates

fluctuate rapidly.” Ex. I at 16. The Federal Circuit has held that this is not a patentable invention:

“a particular graphical user interface that improves usability, visualization, and efficiency” does

not confer eligibility because “[t]he claims are focused on providing information to traders in a

way that helps them process information more quickly…not on improving computers or

technology.” Trading Techs. Int’l, Inc. v. IBG LLC, 921 F.3d 1378, 1384 (Fed. Cir. 2019) (“IBG

II”). In other words, the alleged invention “focuses on improving the trader, not the functioning of

the computer,” and is thus unpatentable. Id. at 1383.

       At Alice step two, once the abstract idea is removed from the claims, none of what remains

recites anything inventive that might transform the claims into patent-eligible subject matter. To

the extent the claims recite components, those components—such as client computer[s], trading

servers, currency exchange servers, and market exchange servers—are indisputably conventional,

and the claims recite them to perform only their routine functions (e.g., displaying, analyzing, and




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transmitting information). Indeed, the only alleged inventive concept identified by Intercurrency

during prosecution is the abstract idea itself—“deriv[ing] a prevailing exchange rate from all

exchange rates” and presenting this information to a trader. Ex. I at 15. But it is well-settled that

“[t]he abstract idea itself cannot supply the inventive concept.” IBG II, 921 F.3d at 1385.

       To the extent the Court credits arguments by Intercurrency that the claims are patent-

eligible, it should nonetheless dismiss the Complaint as failing to plausibly state a claim for relief

under Iqbal/Twombly. Intercurrency fails to allege any facts—let alone sufficient facts—to

plausibly suggest that Defendants infringe any claim of the Asserted Patents. Rather, Intercurrency

repeats the same boilerplate allegations raised against multiple defendants in multiple prior suits

without addressing any of the particular limitations Intercurrency classified during prosecution as

“important features” of the alleged invention. For example, Intercurrency argued that “one of the

important features in Claim 1 [of the ’107 patent] is how and when the prevailing exchange rate is

derived. Claim 1 recites explicitly that the prevailing exchange rate is derived from all exchange

rates obtained from the one or more currency exchange servers [and] is calculated again from all

exchange rates…right before the transaction takes place.” Ex. H at 17. These features—according

to Intercurrency—ensure that the claims “do[] not pose a risk tying up the alleged abstract idea nor

pre-empting others from using the alleged abstract idea.” Ex. G at 16. But nowhere in its Complaint

does Intercurrency offer any plausible facts to suggest that State Street’s accused systems meet

these “important features” of the claims. Intercurrency’s Complaint should be dismissed.

       To the extent that the Court finds that the claims are patent-eligible under § 101 and that

the Complaint alleges sufficient facts to plausibly state a claim for infringement of the Asserted

Patents, the case should nonetheless be dismissed for improper venue under 28 U.S.C. § 1400(b).

Defendants are not incorporated in Texas, nor do they have a “regular and established place of




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business” in this District. See TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 581 U.S. 258,

268 (2017). Intercurrency’s reliance on several remote employees that purportedly work in this

District and its unsupported—and incorrect—allegations regarding Defendants’ activities in the

District are not sufficient to establish a place of business in the District.

II.       LEGAL STANDARD

          A.     Eligibility Under § 101

          Abstract ideas are not patentable. See Alice, 573 U.S. at 216-17. Rather, they are “the basic

tools of scientific and technological work” and the “monopolization of those tools through the

grant of a patent might tend to impede innovation more than it would tend to promote it.” Mayo

Collaborative Servs. v. Prometheus Lab’ys, Inc., 566 U.S. 66, 71 (2012).1 Courts apply a two-step

framework “for distinguishing patents that claim laws of nature, natural phenomena, and abstract

ideas from those that claim patent-eligible application of those concepts.” Alice, 573 U.S. at 217.

          At step one, courts “determine whether the claims at issue are directed to a patent-

ineligible concept,” id. at 218, by “looking at the ‘focus’ of the claims, their ‘character as a

whole.’” Elec. Power Grp., LLC v. Alstom S.A., 830 F.3d 1350, 1353 (Fed. Cir. 2016). “The inquiry

often is whether the claims are directed to ‘a specific means or method’ for improving technology

or whether they are simply directed to an abstract end-result.” RecogniCorp, LLC v. Nintendo Co.,

855 F.3d 1322, 1326 (Fed. Cir. 2017); see also Uniloc USA, Inc. v. Avg Techs.USA, Inc., No. 16-

CV-00393, 2017 U.S. Dist. LEXIS 45125, at *18-19 (E.D. Tex. Mar. 28, 2017).

          At step two, courts remove the abstract idea from the claim, and search the remainder for

an “‘inventive concept’—i.e., an element or combination of elements that is ‘sufficient to ensure

that the patent in practice amounts to significantly more than a patent upon the [ineligible concept]


1
    All citations omitted unless otherwise indicated.



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itself.’” Alice, 573 U.S. at 217-18 (alteration in original) (quoting Mayo, 566 U.S. at 72-73). There

is nothing inventive about applying an abstract idea using “‘well-understood, routine, conventional

activit[ies]’ previously known to the industry.” Id. at 225 (alteration in original). Where a “pen

and paper version of the claimed method…could be completed,” the claimed method is merely an

abstract idea. Miller Mendel, Inc. v. City of Anna, Tex., 598 F. Supp. 3d 486, 495 (E.D. Tex. 2022)

(quoting SkillSurvey, Inc. v. Checkster LLC, 178 F. Supp. 3d 247, 256 (E.D. Pa. 2016), aff’d, 683

F. App’x 930 (Fed. Cir. 2017)). Further, claiming “[a] simple instruction to apply an abstract idea

on a computer,” or “claiming the improved speed or efficiency inherent with applying the abstract

idea on a computer provide a sufficient inventive concept” will not cure a patent’s abstraction.

Intell. Ventures I, LLC v. Cap. One Bank (USA), 792 F.3d 1363, 1367 (Fed. Cir. 2015).

       Patent eligibility under § 101 is a question of law which may be resolved on a motion to

dismiss. See OIP Techs., Inc. v. Amazon.com, Inc., 788 F.3d 1359, 1362 (Fed. Cir. 2015). While

courts must accept the factual allegations in the Complaint and consider them in the light most

favorable to the non-moving party, “[i]n ruling on a 12(b)(6) motion, a court need not ‘accept as

true allegations that contradict matters properly subject to judicial notice or by exhibit,’ such as

the claims and the patent specification.” Secured Mail Sols. LLC v. Universal Wilde, Inc., 873 F.3d

905, 913 (Fed. Cir. 2017). Thus, dismissal of the Complaint on ineligibility grounds is appropriate

where there is no genuine dispute of fact that the recited claim elements are “well-understood,

routine, and conventional.” Aatrix Software, Inc. v. Green Shades Software, Inc., 890 F.3d 1354,

1356 (Fed. Cir. 2018) (Moore, J., concurring).

       B.      Sufficiency of the Pleadings

       “[A] complaint must contain sufficient factual matter, accepted as true, to ‘state a claim to

relief that is plausible on its face.’” Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl.

Corp. v. Twombly, 550 U.S. 544, 570 (2007)). To satisfy the plausibility standard, a plaintiff must


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plead facts that allow “the court to draw the reasonable inference that the defendant is liable for

the misconduct alleged.” Id. Courts “are not bound to accept as true a legal conclusion couched as

a factual allegation.” Id. Moreover, as this Court has noted, for claims directed to “hardware and

software involved in an electronic transaction…system,” Fractus, S.A. v. TCL Corp., No 20-CV-

00097, 2021 WL 2483155, at *2 (E.D. Tex. June 2, 2021), a Complaint must include more than

the bare bones allegations found sufficient by the Federal Circuit in the Disc Disease case.

Chapterhouse, LLC v. Shopify, Inc., No. 18-CV-00300, 2018 WL 6981828 (E.D. Tex. Dec. 11,

2018). Rather,

       “[t]he level of detail required in any given case will vary depending upon a number
       of factors, including the complexity of the technology, the materiality of any given
       element to practicing the asserted claim(s), and the nature of the allegedly
       infringing device. Accordingly, a plaintiff cannot assert a plausible claim for
       infringement under the Iqbal/Twombly standard by reciting the claim elements and
       merely concluding that the accused product has those elements.”

Bot M8 LLC v. Sony Corp. of Am., 4 F.4th 1342, 1353 (Fed. Cir. 2021). “There must be some

factual allegations that, when taken as true, articulate why it is plausible that the accused product

infringes the patent claim.” Id.

III.   THE ASSERTED CLAIMS ARE INELIGIBLE UNDER § 101

       A.        The Asserted Patents’ Common Specification Describes the Alleged Invention
                 as Economic Activity

       The Asserted Patents share a common specification, which explains that “the invention

relates to methods, processes and systems for conducting security transactions in a preferred

currency, regardless of what original or market currency the securities are being traded in and

where the transaction may take place.” ’107, 2:15-19. As described in the specification, the alleged

problem in the prior art was that “[a]t the time of buying or selling the stocks, as well as during

the whole period the investor held the stocks, the investor had no certain knowledge of what profit

or loss he was going to get.” ’107, 1:53-57. Thus, “[t]here is a great need for an improved system


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which performs currency conversion at a transactional level so that a trader or investor knows

exactly what profit or loss may occur with a transaction.” Id., 1:61-66. The specification further

explains that “[t]he invention may be implemented in numerous ways” (’107, 2:62-63) and “[t]he

detailed description of the invention is presented largely in terms of procedures, steps, logic blocks,

processing, and other symbolic representations that directly or indirectly resemble the operations

of data processing devices coupled to networks.” ’107, 4:13-17.

       According to the specification, the claimed servers represent conventional financial

institutions: “server 206 represents a bank [or] an exchange agency”; “server 208 represents a

brokerage (e.g., Scottrade) to facilitate a transaction decided by a trader”; and “server 210

represents an asset or market exchange (e.g., NYSE), where an asset is caused to change hands.”

Id. at 4:66-5:6. Likewise, the “client machine may include…any form of desktop or laptop or

server computer, handheld wireless device, or mobile phone.” Id. at 4:49-53. The specification

also concedes that “well known methods, procedures, components, and circuitry have not been

described in detail to avoid unnecessarily obscuring aspects of the present invention.” ’107, 4:24-

27. Thus, critically, the specification does not explain how a prevailing exchange rate is calculated;

rather, it teaches merely that “a prevailing exchange rate is obtained at 306 from a currency

exchange.” ’107, 5:48-49. Likewise, the specification does not teach how to specially program any

of the client computer, currency exchange server, trading server, or market exchange servers to

perform the alleged invention, relying instead on the conventional functionality of these common

components.

       B.      Claim 1 of the ’107 Patent is Representative

       For purposes of the § 101 analysis, Claim 1 of the ’107 patent is representative of all the

claims of the asserted patents because all the claims are “substantially similar and linked to the

same abstract idea”—currency exchange for a security transaction. Content Extraction &


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Transmission LLC v. Wells Fargo Bank, 776 F.3d 1343, 1348 (Fed. Cir. 2014). Claim 1 of the ’107

recites functional steps using conventional hardware:

       1. A method for providing a consolidated trading platform, the method
       comprising:

       providing a trading server coupled to one or more currency exchange servers and
       one or more market exchange servers;

       receiving in the trading server an indicator of a preferred currency from a trader;

       causing a client computer associated with the trader to display at least an asset in
       the preferred currency while the asset is being traded in a market currency, wherein
       said causing a client computer associated with the trader to display at least an asset
       in the preferred currency comprises:

       determining in the trading server a prevailing exchange rate between the
       preferred currency and the market currency, wherein the prevailing exchange rate
       is derived from all exchange rates obtained from the one or more currency exchange
       servers when the asset is displayed in the preferred currency; and

       displaying all costs and fees in the preferred currency to own or sell the asset,
       wherein the all costs and fees are dynamically changed in accordance with the
       prevailing exchange rate updated constantly even when a market value of the asset
       remains unchanged, wherein the trader has certain knowledge of what to pay for
       the asset, or profit or loss when acting on the asset;

       conducting in the trading server a transaction of the asset by transmitting a
       transaction request from the trading server to a market exchange server when the
       trader decides to proceed with trading the asset;

       receiving a settlement notification in the trading server when the transaction of the
       asset is performed by the market exchange server in accordance with conditions set
       by the user, wherein the conditions include a price at which the asset is traded in
       the preferred currency, the trading server is configured to calculate the prevailing
       exchange rate from all exchange rates obtained from the one or more currency
       exchange servers right before the transaction takes place when the asset is not
       priced in the preferred currency, and executes the transaction with the calculated
       prevailing exchange rate obtained at the transaction to prevent uncertainty in
       currency exchanges in another time; and

       performing a currency conversion of some portion or all of the transaction from
       the market currency to the preferred currency when the preferred currency is not
       identical to the market currency, the conversion being performed with the
       calculated prevailing exchange rate.




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’107, 8:45-9:27 (emphasis added). Although Intercurrency alleges in its Complaint that “[n]o

single claim is representative of any other” (Compl. ¶ 22), the Court “need not accept as true legal

conclusions couched as factual allegations” (and Intercurrency provides no support for its

statement in the first place), Potter v. Cardinal Health 200, LLC., 381 F. Supp. 3d 729, 733 (E.D.

Tex. 2019) (quoting Iqbal, 556 U.S. at 678). In fact, (1) Intercurrency’s own allegations in the

Complaint and its arguments during prosecution of the Asserted Patents, (2) the fact that the patents

share a common specification and are terminally disclaimed against their respective parents, and

(3) the substantial overlap in claim language, all confirm the representativeness of ’107 claim 1

for purposes of the § 101 analysis. See PPS Data, LLC v. Jack Henry & Assocs., 404 F. Supp. 3d

1021, 1036 (E.D. Tex. 2019) (“The cumulative effect of these three justifications—terminal

disclaimer, common specification, and particularized analysis tethered to the claim language—is

that JHA has met its burden to initially show representativeness.”).

       First, in describing the purported inventions of the Asserted Patents, Intercurrency cites

only to the common specification and offers a single description of the invention for all three

patents. See Compl. ¶¶ 26-29. Likewise, Intercurrency’s barebones (and insufficient, see § IV0,

infra) allegations of infringement rely entirely on conclusory language regarding claim 1 of the

’107 patent and fail to provide any additional or different allegations for any claim of the ’863 or

’930 patents. Compare Compl. ¶ 49 (paraphrasing claim 1 of the ’107), with ¶¶ 65, 81 (alleging

infringement of the ’863 and ’930 patents). Moreover, during prosecution of the ’107 patent,

patentee expressly represented to the Examiner that “[a]ll of the claims in the present application

recite the same claimed invention, namely a consolidated trading platform involving a trading

server, one or more currency exchange servers, and one or more market exchange servers.” Ex. D

at 2; see also Ex. E at 16 (“Without repeating the same, the Applicant wishes to rely upon the




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above reasoning supporting Claims 1-18 to support Claims 19-36.”); Ex. I at 16 (following

discussion of claim 1, arguing “[c]laims 9, 19 and 27 have been amended similarly to Claim 1.

Without repeating the same, the Applicant wishes to rely upon the above reasons/arguments

supporting Claim 1 to support Claims 9, 19 and 27”). Likewise, during prosecution of the ’930

patent, the patentee presented arguments directed at claim 1 and then concluded “Independent

Claims 5 and 12 have been amended similarly to claim 1. Without repeating the same, the

Applicant wishes to rely on the above arguments supporting Claim 1 to support Claims 5 and 12.”

Ex. L at 11. Thus, at least for the ’107 patent and the ’930 patent, claims within each patent are

indisputably “substantially similar and linked to the same abstract idea.” Content Extraction, 776

F.3d at 1348.

       Second, this Court recognizes that a “terminal disclaimer offers support for the Court’s

conclusion regarding representativeness because it ‘is a strong clue that a patent examiner and, by

concession, the applicant, thought the claims in the continuation lacked a patentable distinction

over the parent.’” PPS Data, 404 F. Supp. 3d at 1034. Similarly, “[a] common specification is

some additional indication of representativeness.” Id. Here, there is no dispute that the patents

share a common specification. Likewise, there is no dispute that the claims of the ’863 patent are

terminally disclaimed against the ’107 patent, or that the claims of the ’930 patent are terminally

disclaimed against both the ’107 and ’863 patents. See Exs. K, M.

       Third, the relevant claim language is substantially similar across all three Asserted Patents.

For example, patentee argued during prosecution that “[o]ne of the important features or

limitations recited in Claim 1 [of the ’107 patent] is the specially designed mechanism to derive a

prevailing exchange rate from all exchange rates obtained from one or more currency exchange

servers.” Ex. I at 15. Further, “Claim 1 recites a set of processes or combined actions that must be




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performed collaboratively by a client computer, one or more currency exchange servers and one

or more market exchange servers to minimize possible uncertainty from currency exchanges that

may considerably affect the price, profit or loss when a transaction related to the asset takes place.”

Id. These same “important” features are recited in the same way in each of the nine independent

claims across all three patents.

       For example, claims 1 and 9 of the ’107 patent recite “a method for providing a

consolidated trading platform,” while claims 19 and 27 recite a similar “non-transitory computer

readable storage medium with an executable software product providing a consolidated trading

platform” with a list of “operation[s]” similar to the method steps of claims 1 and 9. Independent

claims 1 and 6 of the ’863 patent and independent claims 1, 5 and 12 of the ’930 patent all recite

a “method for trading an asset” or “system for trading an asset,” with each claim requiring similar

multi-server architecture performing similar steps as ’107 claim 1. All nine independent claims

require a trading server coupled to market exchange servers and currency exchange servers. All

claims require displaying costs and fees in a preferred currency using a prevailing exchange rate

derived from all exchange rates obtained from the currency exchange servers. All claims require

that the displayed value for the asset changes based on changes in the exchange rate, even when

the value of the asset on the market exchange server has not changed.

       And, finally, in setting forth its infringement allegations in the Complaint, Intercurrency

identifies claim 1 of the ’107 patent, claim 1 of the ’863 patent, and claim 12 of the ’930 patent,

as exemplary of Defendants’ alleged infringement. Claim 1 of the ’107 patent, claim 1 of the ’863

patent, and claim 12 of the ’930 patent, however, all require the same things: (a) coupling a trading

server to one or more currency exchange servers and one or more market exchange servers (’107,

8:47-49; ’863, 8:48-50; ’930, 8:48-50 and 10:44-45); (b) displaying costs and fees in a currency




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set by a trader, where the costs and fees are displayed and dynamically updated in accordance with

a prevailing exchange rate (’107, 8:64-67; ’863, 9:1-4; ’930, 10:47-53); (c) conducting a trade of

the asset at the prevailing exchange rate at the time of transaction by transmitting a request from

the trading server to the market exchange server (’107, 9:5-8; ’863, 9:6-9; ’930, 10:54-57); and (d)

concluding a settlement of the transaction in accordance with market conditions set by the trader

(’107, 9:10-13; ’863, 9:10-13; ’930, 10:47-53 and 10:58-60).

       To the extent that there are stylistic differences and narrowing limitations in the various

independent and dependent claims, they do not reach a degree of legal distinctiveness such that

Intercurrency would be deprived “of an adequate day in court.” PPS Data, 404 F. Supp. 3d at

1033. Intercurrency’s attempts to distinguish the ’930 and ’863 patents from representative ’107

patent fall short. See Compl. ¶ 22. First, Intercurrency fails to explain how the purportedly distinct

limitations of claim 12 of the ’930 patent (“wherein the trading server causes a display of a market

value…;” “wherein costs and fees in the settlement…”) and claim 1 of the ’863 patent (“coupling

a trading server…”) are material to the eligibility analysis. See PPS Data, 404 F. Supp. 3d at 1036

(plaintiff must identify limitations and explain materiality to the eligibility inquiry to defeat

representativeness claim). Second, the limitations of the ’930 and ’863 patents are not at all

distinct—they are merely minor rephrasing of claim limitations from the ’107 patent. Compare

e.g., ’930 claim 12 (“display[ing] of a market value of the asset in second currency in reference to

a setting of the second currency by the trader”) with ’107 claim 1 (“receiving…preferred currency

from a trader…causing…computer to display…asset…in preferred currency while the asset is

being traded in a market currency”);’863 claim 1 (“coupling a trading server to one or more

currency exchange servers and one or more market exchange servers”) with ’107 claim 1

(“providing a trading server coupled to one or more currency exchange servers and one or more




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market exchange servers”). Indeed, Intercurrency’s infringement allegations refer to specific ’107

patent claim limitations (see Compl. ¶ 49), but not to specific ’930 and ’863 claim limitations (see

Compl. ¶¶ 65, 81)—an implicit acknowledgment that the ’107 patent is fully representative of the

claims of the ’930 and ’863 patents. Any differences between the patents are too slight to render

the claims patentably distinct for purposes of this analysis.

       C.      During Prosecution of the ’107 Patent, Patentee Relied Upon the “Important”
               Parts of the Invention to Overcome Section 101 Rejections

       During the long prosecution of the ’107 patent, which took place from 2007 to 2018, the

claims were repeatedly rejected as ineligible under Section 101. Exs. D-I. In response, patentee

classified the claims and set forth the “important” features of the invention.

       For example, in its January 13, 2015 response, patentee argued “that Claims 1-18 are

directed to a method…for trading an asset in a preferred currency [] with a prevailing exchange

rate.” Ex. E at 14. Then, in its August 13, 2015 response, patentee argued that “Claims 1-36 are

directed to facilitating traders in overseas trade, e.g., US securities priced in US dollars in their

local currency with a prevailing exchange rate at a minimum cost to the trader.” Ex. F at 20. There,

patentee conceded that the claims realize a “collaborated operation that happens to be related to a

finance-related transaction,” but argued that the claims were non-abstract because the “operations

involve data distribution, data gathering, data analysis/comparison, data display and data

transformation.” Id. See also Ex. G at 13 (“The area of the instant application is indeed related to

an economic practice but can only be accomplished with uniquely combined computing

technologies.”). But by the time it submitted its May 24, 2017 response, the patentee had conceded

the abstract nature of the claims: “The Applicant does not intend to argue on the assumption by

the Examiner under the Mayo Test Part 1. Therefore, the claim appears directed to an abstract idea

(Step 2A: YES).” Ex. H at 17.



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       In its May 24, 2017 and January 20, 2018 responses, the patentee also identified what it

considered to be “[o]ne of the important features” of the invention: “how and when the prevailing

exchange rate is derived.” Ex. H at 17; see also Ex. I at 15 (stating that “one of the important

features…is the specially designed mechanism to derive a prevailing exchange rate from all

exchange rates obtained from one or more currency exchange servers”). The goal of the invention,

according to patentee’s January 20, 2018 response is “to minimize possible uncertainty from

currency exchanges that may considerably affect the price, profit or loss when a transaction related

to the asset takes place.” Ex. I at 15. In arguing that the alleged invention is technological, patentee

relied expressly “on the speed of processing that can only be afforded by sophisticated computing

systems over human methods.” Id. Finally, relying on the Federal Circuit’s nonprecedential

decision in Trading Technologies v. CGQ, the patentee argued that the invention here is “a

Graphical-User-Interface design that helps a trader buy and sell a stock with certainty even the

[sic] currency exchange rates fluctuate rapidly.” Id. at 16.

       Likewise, in the subsequent prosecution of the ’930 patent, patentee argued the claims are

nonabstract because computer-implemented limitations requiring displaying and calculating costs

and fees based on the prevailing currency exchange rate “cannot practically be performed in the

human mind.” Ex. L at 11. Patentee again focused on the timing of the currency exchange

calculation as the alleged improvement over the prior art, not any technological improvement:

       “The second prevailing exchange rate is calculated just before an transaction takes
       place based on the unique architecture to integrate ‘an abstract idea’ into a practical
       application in which a trader can be certain how much he/she pays for the
       transaction regardless how the exchange rate fluctuates (vs. a prior art system in the
       which a trader waits till the end of the day for the exchange rate, which may result
       in significant fluctuation in the cost and fees).”

Id. The ’930 claims were subsequently allowed without further rejection.




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       Section 101 was not addressed during the prosecution of the ’863 patent, but the claims

there were initially rejected on the ground of nonstatutory obviousness-type double patenting over

the ’107 patent claims because the Examiner determined they “are not patentably distinct” from

the patent application’s claims. Ex. J at 3. The ’863 patent was subsequently allowed after the

patentee filed a terminal disclaimer. Ex. K.

       D.      Alice Step One: The Claims Are Impermissibly Abstract

       The claims of the Asserted Patents are directed to an abstract idea—trading an asset in a

preferred currency, and in particular, to performing a currency exchange at the time of transaction

for a security transaction—and not a technological solution to a technical problem. As the

specification explains, “[a]t the time of buying or selling the stocks, as well as during the whole

period the investor held the stocks, the investor had no certain knowledge of what profit or loss he

was going to get.” ’107, 1:53-57. Thus, “[t]here is a great need for an improved system which

performs currency conversion at a transactional level so that a trader or investor knows exactly

what profit or loss may occur with a transaction.” Id. at 1:61-66.

       During prosecution, Intercurrency conceded that the claims are directed to economic

activity and, in particular, to “trading an asset in a preferred currency.” Ex. E at 14; see also Ex. F

at 20 (claims “directed to facilitating traders in overseas trade…in their local currency”). Likewise,

when identifying the important aspects and alleged novelty of the invention, Intercurrency argued

to the Patent Office that “[o]ne of the important features in Claim 1 as amended is how and when

the prevailing exchange rate is derived.” Ex. H at 17; Ex. I at 14-15 (“one of the important features

or limitations…is the specially designed mechanism to derive a prevailing exchange rate from all

exchange rates obtained from one or more currency exchange servers”); Ex. L at 11. (“second

prevailing exchange rate is calculated just before an transaction takes place” in contrast to “a prior

art system in the which a trader waits till the end of the day for the exchange rate”). While


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Intercurrency eventually secured allowance of the claims by arguing that the invention is “a

Graphical-User-Interface design that helps a trader buy and sell a stock with certainty,” Ex. I at

16, this too relies entirely on the resultant business benefits—providing certainty in a transaction—

not any technological improvement to any underlying platform. But regardless of whether the

claims are directed to (1) currency exchange or (2) “a Graphical-User-Interface design,” the claims

are impermissibly abstract for multiple independent reasons.

               1.      Fundamental Economic Concepts Are Ineligible

       The Supreme Court, Federal Circuit, and courts in this district have consistently and

repeatedly confirmed that fundamental economic concepts—such as trading an asset in a preferred

currency—are, without more, patent ineligible. For example, in Alice, the Supreme Court

invalidated computer-implemented claims directed to “the concept of intermediated settlement

[which] is ‘a fundamental economic practice long prevalent in our system of commerce.’” Alice,

573 U.S. at 219. Likewise, in Bilski v. Kappos, the Supreme Court found the concept of hedging

risk patent ineligible. 561 U.S. at 611. The Federal Circuit has addressed economic concepts in

multiple cases, each time finding the patents ineligible even when reciting computer hardware and

computer-implemented steps because “the ‘investment’ character of this information simply

invokes a separate category of abstract ideas involved in Alice and many of our cases—‘the

creation and manipulation of legal obligations such as contracts involved in fundamental economic

practices.’” SAP Am., Inc. v. InvestPic, LLC, 898 F.3d 1161, 1168 (Fed. Cir. 2018) (collecting

cases); see also OIP Techs., 788 F.3d at 1362-63 (finding concept of “‘offer based

pricing’…similar to other ‘fundamental economic concepts’ found to be abstract ideas by the

Supreme Court” and the Federal Circuit).

       Similarly, this Court has invalidated claims directed to cash management because “[l]ike

the alleged innovation in the InvestPic patent…the purported innovation in ‘cash


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management’…concerns the abstract idea of fundamental economic and accounting activities

itself, which is not sufficient to confer eligibility.” Island Intellectual Property LLC v. TD

Ameritrade, Inc., 2:21-CV-00273, 2022 WL 17080738, at *2 (E.D. Tex. Nov. 17, 2022). And

Judge Bryson, sitting by designation in this judicial district, confirmed the ineligibility of claims

directed to “the unpatentable concept of currency exchange.” Loyalty Conversion, 66 F. Supp. 3d

at 837 (“[C]lose examination of the asserted claims shows that they are largely functional in nature

and do little more than set forth the general concept of currency exchange…and then announce the

use of ‘one or more’ computers to obtain various efficiencies in the process….”). Id. at 837-38.

       Even assuming that it was novel and non-obvious to calculate a prevailing exchange rate

at the time of a transaction using all exchange rates obtained from one or more currency exchange

servers, this cannot save the claims from abstraction. As the Federal Circuit has explained, “[n]o

matter how much of an advance in the finance field the claims recite, the advance lies entirely in

the realm of abstract ideas, with no plausibly alleged innovation in the non-abstract application

realm. An advance of that nature is ineligible for patenting.” SAP Am., 898 F.3d at 1163 (finding

claims ineligible when “[t]heir subject is nothing but a series of mathematical calculations based

on selected information and the presentation of the results of those calculations”). Indeed, “[w]here

a claim’s ‘essential advance’ is abstract, a novel method of performing that advance ‘does not

avoid the problem of abstractness.’” Bridge & Post, Inc. v. Verizon Commc’ns, Inc., 778 F. App’x

882, 892 (Fed. Cir. 2019) (non-precedential); see also In re Greenstein, 774 F. App’x 661, 665

(Fed. Cir. 2019) (non-precedential) (rejecting argument that “confuses eligibility with novelty”

and explaining that “the alleged novelty of Greenstein‘s investment strategy—an abstract idea—

is immaterial to the claims’ eligibility”); Synopsys, Inc. v. Mentor Graphics Corp., 839 F.3d 1138

, 1151 (Fed. Cir. 2016) (“[A] claim for a new abstract idea is still an abstract idea.”). Accordingly,




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Intercurrency’s claims are indisputably directed to abstract economic concepts.

               2.      Intercurrency’s Prosecution-Based “Graphical User Interface”
                       Argument Does Not Render the Claims Non-Abstract

       Re-packaging the claims as directed to a “Graphical-User-Interface design” does not make

the claims non-abstract and technological. Indeed, the Federal Circuit addressed this argument

directly in two precedential decisions, finding similar claims patent-ineligible. In Trading

Technologies International Inc. v. IBG LLC (“IBG I”), the Federal Circuit affirmed the ineligibility

under Section 101 of claims directed “a graphical user interface (“GUI”) for electronic trading.”

921 F.3d 1084, 1087 (Fed. Cir. 2019). There, the Federal Circuit “[saw] no technological invention

in this software method for trading [because t]he claims require receiving bid and offer information

from an electronic exchange, displaying such information…and sending an order to the electronic

exchange based on a user input.” Id. at 1089. The Federal Circuit rejected patentability arguments

that the patents “addressed problems related to speed, efficiency, and usability” because “[t]his

invention makes the trader faster and more efficient, not the computer. This is not a technical

solution to a technical problem.” Id. at 1089-90. Here, too, “the claims…do not improve the

functioning of the computer, make it operate more efficiently, or solve any technological problem.

Instead, they recite a purportedly new arrangement of generic information that assists traders in

processing information more quickly.” Id. at 1093.

       Similarly, in IBG II, the Federal Circuit addressed related patents that patentee argued were

not abstract “because they provide a particular graphical user interface that improves usability,

visualization, and efficiency.” IBG II, 921 F.3d at 1384. The Federal Circuit rejected this argument

as well because “[t]he claims are focused on providing information to traders in a way that helps

them process information more quickly…not on improving computers or technology.” Id. Like

Electric Power, the purported advance “is a process of gathering and analyzing information of a



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specified content, then displaying the results, and not any particular assertedly inventive

technology for performing those functions.” Id. at 1384-85 (quoting Elec. Power Grp., 830 F.3d

at 1354).

       The Federal Circuit’s reasoning in both IBG I and IBG II confirms that the asserted claims

are unpatentable. Like the claims at issue in those cases, the claims here merely recite functional

limitations for receiving and transmitting information about assets and currencies, calculating

(analyzing) information of a specified content, and displaying the results of those calculations. See

§ III.B, supra. As Intercurrency concedes, the purported improvement over the prior art is “how

and when” those calculations are performed (Ex. H at 17; see also Ex. I at 14-15; Ex. L at 11), not

on any improvement to the underlying servers or client computers that perform those operations.

Indeed, IBG II makes clear that “merely providing a trader with new or different information in an

existing trading screen is not a technical solution to a technical problem. Instead, it focuses on

improving the trader, not the functioning of the computer.” IBG II, 921 F.3d at 1383. The claims

here are no different.

       The non-precedential Trading Technologies International, Inc. v. CQG, Inc. case relied on

by Intercurrency during prosecution of the ’107 patent is non-binding (and distinguishable). See

Ex. I at 16;2 Trading Techs. Int’l, Inc. v. CQG, Inc., 675 F. App’x 1001 (Fed. Cir. 2017) (non-

precedential). Indeed, the later IBG I court expressly rejected the argument that it was bound by


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  Contrary to Intercurrency’s erroneous assertion in the Complaint, it is irrelevant whether “any
arguments relating to eligibility…are necessarily merely cumulative with those already
considered, and rejected, by the Patent Examiners in allowing the Patents-in-Suit.” Compl. ¶ 30.
As the Federal Circuit has explained, “courts are not required to defer to Patent Office
determinations as to eligibility,” even in the face of “evidence that the Patent Office concluded,
in allowing the [challenged] patent, that the claimed inventions improve…device technology
itself.” Sanderling Mgmt. Ltd. v. Snap Inc., 65 F.4th 698, 705 (Fed. Cir. 2023) (citing OIP
Techs., 788 F.3d at 1362 (“Patent eligibility under 35 U.S.C. § 101 is an issue of law reviewed de
novo.”)).



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the non-precedential Trading Techs. decision. IBG I, 921 F.3d at 1095 (“TT argues that because

non-precedential decisions of this court held that other TT patents…claimed eligible subject

matter, we should too. We are not bound by non-precedential decisions at all, much less ones to

different patents, different specifications, or different claims.”). But more fundamentally, CGQ is

inapposite. There, the claims required “a specific, structured graphical user interface paired with

a prescribed functionality directly related to the graphical user interface’s structure.” CGQ, 675

F. App’x at 1004 (emphasis added). Here, there is no such required structure for the graphical user

interface, nor is there any claimed functionality related to any such structure. Accordingly, like the

claims in IBG I and IBG II, the claims of the Asserted Patents here recite nothing more than an

abstract idea designed to improve traders and not any underlying technology.

       Finally, the claims here use “essentially result-focused, functional…claim language

[which] has been a frequent feature of claims held ineligible under § 101, especially in the area of

using generic computer and network technology.” Elec. Power Grp., 830 F.3d at 1356. Because

the claims here do not even purport to specify how any of its functional results are achieved (i.e.,

how to “determine[]” or “derive[]” a prevailing exchange rate or how to “dynamically change[]”

the displayed costs and fees), they cannot escape abstraction. Dropbox, Inc. v. Synchronoss Techs.,

Inc., 815 F. App’x 529, 533 (Fed. Cir. 2020) (non-precedential) (“The patent has to describe how

to solve the problem in a manner that encompasses something more than the ‘principle in the

abstract.’”); cxLoyalty, Inc. v. Maritz Holdings, 986 F.3d 1367, 1378 (Fed. Cir. 2021) (“[T]he

claims provide no useful guidance as to how this purported function is achieved and thus cannot

be directed to a technological solution.”) (emphasis added); Am. Axle & Mfg., Inc. v. Neapco

Holdings, 967 F.3d 1285 (Fed. Cir. 2020). Even the specification lacks detail on how to accomplish

many of the claimed limitations, including the requirement that “the trading server is configured




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to calculate the prevailing exchange rate from all exchange rates obtained from the one or more

currency exchange servers.” ’107, 9:14-16. Rather, as taught in the specification, “a prevailing

exchange rate is obtained at 306 from a currency exchange.” ’107, 5:48-49.

       Aside from concerns surrounding written description and enablement, this lack of detail is

particularly troubling in the Section 101 context given Intercurrency’s prosecution arguments that

“the trading server recited in Claim 1 must be specifically programmed to work with a currency

exchange server and a market exchange server [and] must be configured to perform a series of

data manipulation operations to obtain a prevailing exchange rate from the currency exchange

server before the transaction takes place.” Ex. E at 15. Thus, even under Intercurrency’s own views

of the technology, because no claim recites details on the “series of data manipulation operations”

necessary to derive a prevailing exchange rate, the claims do not explain how to solve any problem

“in a manner that encompasses something more than the ‘principle in the abstract.’” Dropbox, 815

F. App’x at 533. The claims of all three Asserted Patents fail at Alice Step One.

       E.      Alice Step Two: There Is No Inventive Concept in the Claims Beyond the
               Abstract Idea Itself

       The claims of the Asserted Patents require, at most, conventional hardware—a “client

computer,” a “trading server,” one or more “market exchange servers,” and one or more “currency

exchange servers”—for carrying out the abstract idea of currency exchange at the time of a

transaction. See, e.g., ’107, 8:45-9:27. Indeed, the specification admits that these conventional

components are well-known in the industry for use in financial transactions: “server 206 represents

a bank [or] an exchange agency”; “server 208 represents a brokerage (e.g., Scottrade) to facilitate

a transaction decided by a trader”; and “server 210 represents an asset or market exchange (e.g.,

NYSE), where an asset is caused to change hands.” Id. at 4:66-5:6. Likewise, the “client machine

may include…any form of desktop or laptop or server computer, handheld wireless device, or



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mobile phone.” Id. at 4:50-53. As Alice itself makes clear, “mere recitation of a generic computer

cannot transform a patent-ineligible abstract idea into a patent-eligible invention.” Alice, 573 U.S.

at 223.

          Indeed, the patentee conceded during prosecution that “the additional features, when

viewed individually, are merely ‘generic computer and networking components performing

generic computer and networking functions.’” Ex. H at 17-18. Instead, the patentee argued that the

claims recite an inventive concept in the combination of elements requiring that “the prevailing

exchange rate is derived or calculated from all exchange rates…at a specific location (i.e., the

trading server), remote from the end-user[and] the timing of the operation (i.e., when the asset is

displayed and right before the transaction takes place) confines an abstract idea to a particular and

practical application of the abstract idea.” Id. at 18. In its final response to the Patent Office, the

patentee relied on “the fact that there are no more 35 USC 102 or 103 rejections again [sic] the

claims” to argue that “[t]his means the claims as a whole amounts to significantly more than the

abstract idea plus the details to implement the abstract idea on one or more generic computers.”

Ex. I at 16. But these patentability arguments fail as a matter of law.

          As the Federal Circuit made clear in SAP:

          We may assume that the techniques claimed are “[g]roundbreaking, innovative, or
          even brilliant,” but that is not enough for eligibility. Nor is it enough for subject-
          matter eligibility that claimed techniques be novel and nonobvious in light of prior
          art, passing muster under 35 U.S.C. §§ 102 and 103…. The claims here are
          ineligible because their innovation is an innovation in ineligible subject matter.
          Their subject is nothing but a series of mathematical calculations based on selected
          information and the presentation of the results of those calculations…. No matter
          how much of an advance in the finance field the claims recite, the advance lies
          entirely in the realm of abstract ideas, with no plausibly alleged innovation in the
          non-abstract application realm. An advance of that nature is ineligible for patenting.

SAP, 898 F.3d at 1162 (internal citations omitted); Synopsys, Inc., 839 F.3d at 1151 (“[A] claim

for a new abstract idea is still an abstract idea. The search for a § 101 inventive concept is thus



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distinct from demonstrating § 102 novelty.”). Accordingly, Intercurrency’s arguments fall short

because the alleged innovations they identify—“how and when” a prevailing exchange rate is

calculated—remain abstract, and the claims therefore lack any inventive concept.

       Likewise, Intercurrency cannot rely on the efficiency of a computer to support an inventive

concept. As this Court confirmed, “‘the alleged efficiency of the method through

computerization,’…is not enough to confer patent eligibility.” Miller Mendel, 598 F. Supp. 3d at

498 (quoting SkillSurvey, 178 F. Supp. 3d at 258 (“It is inarguable that using computer technology

would necessarily make the claimed method more efficient. However, adding efficiency to a long-

standing process through computerization also does not render an abstract idea patentable.”)).

“[T]he problem being solved by the use of computer technology does not solve a specific

computing problem.” Id.

       Similarly, limitations requiring that the display of “all costs and fees are dynamically

changed in accordance with the prevailing exchange rate” (e.g., ’107, 8:65-67) also cannot provide

an inventive concept to save the claims from abstractness. For example, in IBM Corp. v. Zillow

Group, Inc., the Federal Circuit held that “dynamically altering visual characteristics” of a

computer display is not inventive, because “that dynamic re-layering or rematching could also be

performed by hand, though more slowly.” 50 F.4th 1371, 1382 (Fed. Cir. 2022). “Any of the

patent’s improved efficiency comes not from an improvement in the computer but from applying

the claimed abstract idea to a computer display.” Id.

       Finally, claim construction is unnecessary to resolve this issue because Intercurrency

cannot “articulate how adoption of the construction [for any proposed claim term] would

materially impact the analysis at step one (and/or at step two).” Sanderling, 65 F.4th at 704 (“If

claims are directed to ineligible (or eligible) subject matter under all plausible constructions, then




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the court need not engage in claim construction before resolving a Section 101 motion.”).

IV.    THE COMPLAINT SHOULD BE DISMISSED FOR FAILURE TO ALLEGE
       PLAUSIBLE FACTS SUFFICIENT TO SUPPORT A CLAIM FOR
       INFRINGEMENT

       In the alternative, the Court should dismiss the Complaint for failure to plead “factual

content that allows the court to draw the reasonable inference that [State Street] is liable for the

misconduct alleged,” based on “more than a sheer possibility that [State Street] has acted

unlawfully.” Iqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 570). In particular,

Intercurrency’s Complaint fails to include sufficient factual allegations that reasonably suggest

State Street meets any of the allegedly important features identified by Intercurrency as supporting

the alleged eligibility of the Asserted Patents.

       As this Court has noted, for claims “directed to ‘hardware and software involved in an

electronic transaction…system,’” Fractus, 2021 WL 2483155, at *2, a Complaint must include

more than the bare bones allegations found sufficient by the Federal Circuit in the Disc Disease

case, Chapterhouse, 2018 WL 6981828, at *2. This Court’s rulings in Chapterhouse (finding

Complaint deficient) and Fractus (finding Complaint sufficient) are instructive. In Chapterhouse,

this Court dismissed several counts of direct infringement for patents directed to “hardware and

software involved in an electronic transaction receipt system” because the plaintiff failed to include

sufficient factual allegations. 2018 WL 6981828, at *2. While the complaint there listed an

exemplary claim from each patent and included supporting screenshots of the defendant’s software

product, it did not include descriptive paragraphs explaining those screenshots or connecting them

to the claim language. Id. In contrast, in Fractus, the Complaint “describe[d] the accused products

in a manner that corresponds [to] the asserted claims.” 2021 WL 2483155, at *3. Moreover, the

Complaint in Fractus “include[d] both images of the accused structures and descriptive

paragraphs.” Id. Nonetheless, despite finding “Fractus’s allegations…sufficient as a technical


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matter, the Court [did] share some of TCL’s concerns,” recognizing that inventions that are

“necessarily abstract and inherently intangible as the software-based system claims in

Chapterhouse” might require a higher pleading standard than was required for Fractus. Id.

       Here, Intercurrency’s allegations do not meet even the “somewhat thin” standard found

sufficient in Fractus, let alone the heightened standard called for in Chapterhouse. The Complaint

includes only one generic paragraph identifying the “Charles Rivers River Investment

Management Solution trading platforms and systems” without any explanation for why this

accused instrumentality allegedly infringes any asserted claim of the Asserted Patents. Compl.

¶ 44. Indeed, Paragraph 49 contains a rote recitation of Claim 1 of the ’107 patent but does not

include any specifics on how State Street has infringed those elements. Compl. ¶ 49. While

Intercurrency includes screenshots, it fails to provide any description of how those screenshots

relate in any way to the patent claims Intercurrency contends are infringed. Even the marketing

materials Intercurrency attaches to their Complaint do not contain the claim limitations broadly

alleged in Paragraph 49. There is no mention of trading servers, currency exchange servers, or

market exchange servers; no currency preferences; nor any indication of when or how often

exchange rates are calculated. Intercurrency’s included screenshots, without supporting factual

allegations that arise to more than mere conclusory statements, fail to meet the Iqbal/Twombly

pleading standard. See Chapterhouse, 2018 WL 6981828, at *2.

       Intercurrency’s silence is particularly problematic given the Federal Circuit instruction to

consider, inter alia, “the materiality of any given element to practicing the asserted claim(s)” in

determining the appropriate level of detail required. Bot M8, 4 F.4th at 1353. In applying this

“materiality” inquiry to particular limitations, courts consider whether “the relevant prosecution

history and the [c]omplaint suggest that these limitations capture the point of novelty.” Vervain,




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LLC v. Micron Tech., Inc., No. 6:21-CV-00487, 2022 WL 23469, at *5 (W.D. Tex. Jan. 3, 2022).

This is important because, without allegations directed to the points of novelty used to traverse the

prior art during prosecution, the Complaint “begs the ‘obvious alternative explanation’ that the

accused infringer is merely practicing the prior art.” Id. (quoting Twombly, 550 U.S. at 567).

       Here, Intercurrency argued during prosecution that “one of the important features in Claim

1 [of the ’107 patent] is how and when the prevailing exchange rate is derived. Claim 1 recites

explicitly that the prevailing exchange rate is derived from all exchange rates obtained from the

one or more currency exchange servers [and] is calculated again from all exchange rates…right

before the transaction takes place.” Ex. H at 17. These features—according to Intercurrency

itself—ensure that the claims “do[] not pose a risk tying up the alleged abstract idea nor pre-

empting others from using the alleged abstract idea.” Ex. G at 16. Likewise, Intercurrency’s

amendments required that the displayed “costs and fees are dynamically changed in accordance

with the prevailing exchange rate constantly updated, a value of the asset being displayed changes

as the exchange rate changes, even when a market value of the asset remains unchanged.” Ex. I at

5. According to Intercurrency, “[i]n view of the above amendments…it is believed that the pending

Claims 1-36 shall be in condition for allowance over the cited references.” Id. at 17. Given the

apparent importance of these features during prosecution and Intercurrency’s assurances that the

claims do not pre-empt others from engaging in foreign exchange transactions, Intercurrency has

no excuse for its deficient allegations.

V.     VENUE IS IMPROPER IN THE EASTERN DISTRICT OF TEXAS

       To the extent that Intercurrency’s Complaint alleges anything at all, these allegations are

not related to the Eastern District of Texas. In patent infringement cases, venue is only proper “in

the judicial district where the defendant resides, or where the defendant has committed acts of

infringement and has a regular and established place of business.” 28 U.S.C. § 1400(b). Domestic


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corporations—like each of the Defendants (collectively, “State Street”)—reside only in its state of

incorporation. See TC Heartland, 581 U.S. 258 at 269. There is no dispute that State Street is

incorporated in Massachusetts, thus the validity of Intercurrency’s venue contentions rely on

proving that State Street has a “regular and established place of business” in the Eastern District

of Texas, which Intercurrency cannot do. See Celgene Corp. v. Mylan Pharms. Inc., 17 F.4th 1111,

1119 (Fed. Cir. 2021) (plaintiff has burden of establishing proper venue under 28 U.S.C. § 1400).

       As the Federal Circuit explained in In re Cray Inc., a “regular and established place of

business” for venue purposes requires “(1) there must be a physical place in the district; (2) [that

is] a regular and established place of business; and (3) [is] the place of the defendant.” 871 F.3d

1355, 1360 (Fed. Cir. 2017). Without satisfying each of these requirements, venue is “improper

under § 1400(b).” Id. Intercurrency cannot prove any of these requirements—let alone all three—

rendering venue in the Eastern District of Texas improper.

       A.      State Street Has No Physical Place in the Eastern District

       Intercurrency must show that State Street has a “building or a part of a building set apart

for any purpose” from which business is conducted. In re Cray Inc. at 1362. This place cannot be

virtual or established solely through electronic communications, it must be a “physical,

geographical location in the district from which the business of the defendant is carried out.” Id.

State Street has no such location in the District. State Street is both incorporated and headquartered

in Massachusetts. And while State Street has office locations in several cities within the United

States, there is no office located within the District. See Declaration of Jeremy Kream (“Kream

Decl.”), ¶¶ 3-11.

       It is not enough that an employee of a defendant is located in a district or conducted

business therein, the defendant themselves must establish the place where the employee worked

to meet this requirement. In re Cray Inc. at 1366. An employee’s presence in the district by itself,


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without additional indicia, is not sufficient to establish the defendant’s “physical place” within the

district. Compare In re Cordis Corp., 769 F.2d 733, 735 (Fed. Cir. 1985) (venue proper where

sales representatives in district stored employer’s products in home for sales meetings in district)

with Celgene Corp., 17 F.4th at 1123 (roster of employees and LinkedIn profiles mentioning

district insufficient to establish physical location of defendant in district).

        Here, Intercurrency does not allege sufficient facts to establish a physical location of State

Street within the District. Contrary to Intercurrency’s unsupported allegations (see Compl. ¶ 12),

State Street does not own or operate data servers in the Eastern District of Texas. Kream Decl.,

¶¶ 7, 9, 11. And State Street’s remote employees currently residing in the Eastern District of Texas

are not sufficient to establish a physical location for State Street within the District. See § V.B,

infra. Intercurrency’s vague and conclusory assertions that State Street employees “possess

inventory” and “sample products” (Compl. ¶ 16) appear designed to manufacture venue in the

theoretical, but Defendants are at a loss to understand to what “inventory” and “sample products”

Intercurrency refers as these things do not exist in State Street’s business of banking and finance.

Regardless, State Street employees residing within the District are not required to and do not hold

product inventory in their homes, nor do they deliver sample products to customers in the District.

Kream Decl., ¶ 16. Intercurrency likewise does not provide any factual evidence in support of its

conclusory allegation that “Defendant has further solicited employees in public advertisements to

cover the challenged venue area and preferred that those employees live in their assigned area.”

Compl. ¶ 17. Defendants are not aware of any such advertisements. Kream Decl., ¶ 17.

        B.      State Street Has No Regular and Established Place of Business Within the
                Eastern District

        The second Cray factor requires that an employee is conducting business at the defendant’s

“physical, geographical location” within the district. In re Google LLC, 949 F.3d 1338, 1343-44



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(Fed. Cir. 2020). Again, it is not enough that some employees are present in the district; their

presence must be at the defendant’s regular and established place of business, conducting the

defendant’s business. Id. In this context, courts have interpreted “established” to mean “stable”

and not transient in nature. See In re Cray, 871 F.3d at 1363. Where an employee can move their

home out of the district on their own accord and with no contentions from the defendant, this

“cut[s] against the employee’s home being considered a place of business of the defendant.” Id.

       State Street employees in the Eastern District of Texas are remote employee who work out

of their homes of their own accord. Kream Decl., ¶ 12. These homes are not owned, operated, or

rented by State Street. See id., ¶¶ 6, 8, 10, 12-15. The employees’ presence in the District is not a

requirement of employment by State Street, and they are under no obligation to continue residency

within the District to maintain employment by State Street. Id., ¶ 12. Intercurrency has offered no

evidence or allegations sufficient to establish that State Street has a regular physical presence

inside the homes of State Street’s remote employees residing in the Eastern District, nor are they

able to. Thus, Intercurrency fails to prove the second Cray factor as State Street has no regular and

established place of business within the Eastern District of Texas.

       C.      State Street Exerts No Control Over any “Place” in the Eastern District of
               Texas

       The third Cray factor requires the plaintiff to show that the place of business used to

establish venue is a place of the defendant. The Federal Circuit has outlined a number of factors

relevant to this analysis including:

       “(1) whether the defendant owns or leases the place, or exercises other attributes of
       possession or control over the place; (2) whether the defendant conditioned
       employment on an employee’s continued residence in the district or the storing of
       materials at a place in the district so that they can be distributed or sold from that
       place; (3) a defendant’s representations about that place, including advertisements;
       and (4) the nature and activity of the alleged place of business of the defendant in
       the district in comparison with that of other places of business of the defendant in
       other venues.”


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Celgene Corp., 17 F.4th at 1122 (quoting In re Cray, 871 F.3d, at 1363-64). Put simply, the place

in the district must be a place “of the defendant, not solely a place of the defendant’s employee.”

In re Cray Inc., 871 F.3d at 1363. Any such place of business must be “established or ratified” by

the defendant, an employee cannot do this on their own. Id.

       The third Cray factor is particularly fatal to Intercurrency’s claim. Beyond a general

assertion that State Street has employees in the District, Intercurrency has failed to allege any

specifics sufficient to meet this factor. As noted above, Intercurrency has not identified any alleged

“place” State Street has established as a regular place of business within the District. To the extent

Intercurrency attempts to establish venue through State Street’s employees, Intercurrency fails to

allege that State Street has exerted sufficient possession or control over employees’ homes to meet

Cray’s place of business requirements. State Street does not advertise employees’ addresses in the

District, nor do they hold these locations out as State Street business locations. See Kream Decl.,

¶¶ 6, 8, 10, 17. There is nothing to suggest that State Street has “established” or “ratified” their

employees’ homes as places of business, nor do these homes represent typical State Street business

locations. Indeed, any State Street employee residing in the Eastern District of Texas is free to

move out of the District without affecting their employment status with State Street. Id., ¶¶ 12, 17.

Because State Street has no physical presence in the District and exerts no control over any aspect

of their Eastern District employee’s homes as physical locations for regular State Street business,

Intercurrency cannot point to State Street employees as the basis for establishing venue within the

Eastern District of Texas.

       Without a “place of the defendant” located within the Eastern District, Intercurrency’s

Complaint fails on improper venue grounds.

VI.    CONCLUSION

       For at least these reasons, the Court should dismiss Intercurrency’s Complaint.


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                                     Respectfully submitted,

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                CERTIFICATE OF COMPLIANCE WITH THE COURT’S
                    35 U.S.C. § 101 MOTION PRACTICE ORDER

       The parties disagree on whether prior claim construction is not needed to inform the
Court’s analysis as to patentability.

                                                   /s/ Melissa R. Smith


                               CERTIFICATE OF SERVICE

        The undersigned certifies that all counsel of record who are deemed to have consented to
electronic service are being served with a copy of this document via the Court’s CM/ECF system
per Local Rule CV-5(a)(3) on this 13 day of May 2024.

                                                   /s/ Melissa R. Smith




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